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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Eastern                     District of   Virginia
                                           (State)
 Case number (if known):                               Chapter   11                                                                  ☐ Check if this is an
                                                                                                                                           Amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
(if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             Paper Source, Inc.


 2.   All other names debtor used               Waste Not Paper
      In the last 8 years

      Include any assumed names,
      Trade names, and doing business
      as names



 3.   Debtor’s federal Employer
      Identification Number (EIN)               3       6    -       3   2   3         8   0     3     5



 4.   Debtor’s address                          Principal place of business                                Mailing address, if different from principal
                                                                                                           place of business

                                                125 South Clark St.
                                                Number      Street                                         Number     Street



                                                                                                           P.O. Box

                                                Chicago                           IL           60603
                                                City                             State         ZIP Code    City                         State       ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business

                                                United States
                                                County                                                     Number     Street




                                                                                                           City                         State       ZIP Code




 5.   Debtor’s website (URL)                    https://www.papersource.com/




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                    Name




 6.   Type of debtor                           ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               ☐ Partnership (excluding LLP)
                                               ☐ Other: Specify:


 7.   Describe debtor’s business               A.   Check one:

                                               ☐    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ☐    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ☐    Railroad (as defined in 11 U.S.C. § 101(44))
                                               ☐    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ☐    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ☐    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               ☒    None of the above



                                               B.   Check all that apply:

                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                    § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                               C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                                    4     5      3       2



 8.   Under which chapter of the    Check one:
      Bankruptcy Code is the debtor
      filing?                       ☐ Chapter 7
                                    ☐ Chapter 9
                                    ☒ Chapter 11                     Check all that apply:

      A debtor who is a “small business
                                                                     ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor” must check the first sub- box.                             affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      A debtor as defined in § 1182(1) who                               recent balance sheet, statement of operations, cash-flow statement, and federal
      elects to proceed under subchapter                                 income tax return or if any of these documents do not exist, follow the procedure
      V of chapter 11 (whether or not the                                in 11 U.S.C. § 1116(1)(B).
      debtor is a “small business debtor”)
      must check the second sub-box.
                                                                     ☐    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                          less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                          statement of operations, cash-flow statement, and federal income tax return, or if
                                                                          any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                          § 1116(1)(B).

                                                                     ☐    A plan is being filed with this petition

                                                                     ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                          creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                     ☐    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                          Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                                          Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this
                                                                          form.

                                                                     ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                          Rule 12b-2.

                                               ☐ Chapter 12


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                    Name




 9.   Were prior bankruptcy cases              ☒ No
      filed by or against the debtor           ☐ Yes       District                                When                         Case number
      within the last 8 years?                                                                               MM / DD /YYYY

      If more than 2 cases, attach a                       District                                When                         Case number
      separate list.
                                                                                                             MM / DD /YYYY




 10. Are any bankruptcy cases         ☐ No
     pending or being filed by a      ☒ Yes                 Debtor      Pine Holdings, Inc.                                     Relationship     Affiliate
     business partner or an affiliate
     of the debtor?                                         District    Eastern District of Virginia                            When             Date hereof
                                                                                                                                                 MM / DD /YYYY
      List all cases. If more than 1, attach
      a separate list.                                      Case number, if known




 11. Why is the case filed in this             Check all that apply:
     district?
                                               ☒ Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any
                                                    other district.

                                               ☐ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                    district.



 12. Does the debtor own or have               ☒ No
     possession of any real                    ☐ Yes        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                                   Why does the property need immediate attention? (Check all that apply)
     attention?
                                                            ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                                  What is the hazard?

                                                            ☐     It needs to be physically secured or protected from the weather.

                                                            ☐     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                                  example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                                  options).

                                                            ☐     Other


                                                            Where is the property?
                                                                                          Number          Street




                                                                                          City                                                        State     ZIP Code

                                                            Is the property insured?
                                                            ☐ No
                                                            ☐     Yes      Insurance Agency

                                                                           Contact Name

                                                                           Phone




               Statistical and administrative information




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     Debtor             Paper Source, Inc.                                                         Case number (if known)
                        Name


     13. Debtor’s estimation of              Check one:
         available funds                     ‫ ܈‬Funds will be available for distribution to unsecured creditors.
                                             ‫ ܆‬After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


     14. Estimated number of                 ‫܆‬   1-49                                ‫ ܈‬1,000-5,000                          ‫ ܆‬25,001-50,000
         creditors                           ‫܆‬   50-99                               ‫ ܆‬5,001-10,000                         ‫ ܆‬50,001-100,000
                                             ‫܆‬   100-199                             ‫ ܆‬10,001-25,000                        ‫ ܆‬More than 100,000
                                             ‫܆‬   200-999



     15. Estimated assets*                   ‫܆‬   $0-$50,000                          ‫܆‬   $1,000,001-$10 million             ‫܆‬   $500,000,001-$1 billion
                                             ‫܆‬   $50,001-$100,000                    ‫܆‬   $10,000,001-$50 million            ‫܆‬   $1,000,000,001-$10 billion
                                             ‫܆‬   $100,00-$500,000                    ‫܆‬   $50,000,001-$100 million           ‫܆‬   $10,000,000,001-$50 billion
                                             ‫܆‬   $500,001-$1 million                 ‫܈‬   $100,000,001-$500 million          ‫܆‬   More than $50 billion



     16. Estimated liabilities*              ‫܆‬   $0-$50,000                          ‫܆‬   $1,000,001-$10 million             ‫܆‬   $500,000,001-$1 billion
                                             ‫܆‬   $50,001-$100,000                    ‫܆‬   $10,000,001-$50 million            ‫܆‬   $1,000,000,001-$10 billion
                                             ‫܆‬   $100,00-$500,000                    ‫܆‬   $50,000,001-$100 million           ‫܆‬   $10,000,000,001-$50 billion
                                             ‫܆‬   $500,001-$1 million                 ‫܈‬   $100,000,001-$500 million          ‫܆‬   More than $50 billion

     * Information based on financial statements as of January 2, 2021.



                   Request for Relief, Declaration, and Signatures


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up
               to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Debtor’s estimation of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         available funds                         petition.

                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct>

                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                 Executed on      0302
                                                                 MM / DD / YYYY


                                             8                                                            Ronald Kruczynski
                                                  Signature of authorized representative of debtor        Printed name

                                                  Title    Chief Financial Officer




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                    Name




                                                                                                         03/02/2021
 18. Signature of attorney
                                                                                               Date
                                                                                                         MM / DD / YYYY


                                             Christopher A. Jones
                                             Printed name

                                             WHITEFORD, TAYLOR & PRESTON L.L.P.
                                             Firm name

                                             Two James Center, 1021 E. Cary Street, Suite 1700
                                             Number      Street

                                             Richmond                                         VA                           23219
                                             City                                             State                        Zip Code

                                             (804) 977-3300                                   cajones@wtplaw.com
                                             Contact phone                                    Email address



                                             40064                                            Virginia
                                             Bar number                                       State




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   SECRETARY’S CERTIFICATE OF RESOLUTIONS OF THE BOARD OF EACH
         ENTITY SET FORTH ON SCHEDULE I ATTACHED HERETO

                                          March 1, 2021

                I, Ronald Kruczynski, the undersigned and appointed Secretary of Paper Source,
Inc. and Pine Holdings, Inc. (each entity, a “Company” and together, the “Companies”), hereby
certify that, on March 1, 2021, the following resolutions were duly adopted by the board of
directors of each Company (each, a “Board”), and recorded in the minute books of each Company,
and that they have not been amended, modified or rescinded and, accordingly, are in full force and
effect as of the date hereof.

               WHEREAS, Paper Source, Inc. is a direct and wholly-owned subsidiary of Pine
Holdings, Inc.; and

             WHEREAS, as a result of the financial condition of the Companies, the Companies
engaged counsel and financial advisors to provide advice to the board of directors of each of the
Companies regarding its obligations to its creditors, equity holders, employees and other interested
parties; and

                WHEREAS, each Board, after having reviewed and considered the options
available to each Company, having consulted counsel and financial advisors, has determined that,
in its judgment, it is advisable and in the best interests of each Company, its creditors, equity
holders, employees and other interested parties that each Company voluntarily files a petition (a
“Petition” and the cases commenced thereby, the “Bankruptcy Cases”) for relief under chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”); and

               WHEREAS, the Companies intend to commence the Bankruptcy Cases in the
United States Bankruptcy Court for the Eastern District of Virginia (the “Bankruptcy Court”).

NOW THEREFORE, it is hereby:

              RESOLVED, that the filing by each Company of a Petition in the Bankruptcy
Court, be, and hereby is, authorized, approved, confirmed and adopted in all respects; and it is
further

                RESOLVED, that each of the officers of each Company (each, an “Authorized
Officer” and, together, the “Authorized Officers”) be and they hereby are authorized, empowered
and directed to execute and file, or cause to be filed, a Petition on behalf of each Company in order
to seek relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and it is further

                 RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed, in the name and on behalf of each Company, to execute and
file all petitions, schedules, motions, lists, applications, pleadings, declarations, affidavits and
other papers as required to accompany the relevant Petition or seek entry of “first day orders,” and,
in connection therewith, to employ and retain assistance of legal counsel, accountants, financial
advisors and other professionals, and to take and perform any and all further acts and deeds that
they deem necessary, proper or desirable in connection with, or in furtherance of, the relevant
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Petition or the Bankruptcy Cases, with a view to the successful prosecution of such cases; and it
is further

              RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ and retain, in the name and on behalf of each
Company, the law firm of Willkie Farr & Gallagher LLP, located at 787 Seventh Avenue, New
York, New York 10019, as bankruptcy counsel to render legal services to, and to represent, each
Company in the Bankruptcy Cases and in any and all related proceedings, subject to Bankruptcy
Court approval; and it is further

               RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ and retain, in the name and on behalf of each
Company, M-III Advisory Partners, LP, located at 1700 Broadway, 19th Floor, New York, NY
10019, as restructuring advisor for each Company in connection with the Bankruptcy Cases,
subject to Bankruptcy Court approval; and it is further

              RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ and retain, in the name and on behalf of each
Company, SSG Capital Advisors, LLC, located at 300 Barr Harbor, Suite 420, West
Conshohocken, PA 19428 as investment banker for each Company in connection with the
Bankruptcy Cases, subject to Bankruptcy Court approval; and it is further

               RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ and retain, in the name and on behalf of each
Company, A&G Real Estate Partners, located at 445 Broadhollow Road, Suite 410, Melville, NY
11747 as real estate advisor for each Company in connection with the Bankruptcy Cases, subject
to Bankruptcy Court approval; and it is further

                RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ and retain, in the name and on behalf of each
Company, the law firm of Whiteford, Taylor & Preston L.L.P., located at Two James Center, 1021
E. Cary Street, Suite 1700, Richmond, VA 23219 as bankruptcy co-counsel to render legal services
to, and to represent, each Company in the Bankruptcy Cases and in any and all related proceedings,
subject to Bankruptcy Court approval; and it is further

              RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ and retain, in the name and on behalf of each
Company, Epiq Corporate Restructuring, LLC, located at 777 Third Avenue, 12th Floor, New
York, NY 10017 as claims, noticing, and solicitation agent in the Bankruptcy Cases, subject to
Bankruptcy Court approval; and it is further

                RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to retain on behalf of each Company such other professionals
and advisors as they deem necessary, appropriate or desirable, upon such terms and conditions as
they shall approve, to render services to each Company in connection with the Bankruptcy Cases
and with respect to other related matters in connection therewith, subject to Bankruptcy Court
approval, if required; and it is further



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                RESOLVED, that (i) that certain Senior Secured Superpriority Debtor-in-
Possession Credit Facility Term Sheet, by and among Paper Source, Inc., as borrower, Pine
Holdings, Inc. as guarantor, MidCap Financial Trust, as administrative agent and collateral agent,
and the Lenders named therein (the “DIP Term Sheet”), substantially consistent with the overview
materials presented to the Board, with such changes therein and additions thereto as the Authorized
Person(s) executing the same shall approve, the execution thereof by an Authorized Person to be
deemed conclusive evidence of such approval, whereby the lenders party thereto agree to extend loans
to the Companies, and (ii) the other Loan Documents (as hereinafter defined), including, without
limitation, any exhibits, appendices and schedules thereto, all transactions contemplated thereby and
all actions taken by the Authorized Person(s) in connection therewith be, and hereby are, authorized,
approved and ratified in all respects with such modifications, changes, additions and deletions thereto
as may be approved or deemed necessary, desirable, convenient, advisable or appropriate by an
Authorized Person executing the same, the execution thereof by such Authorized Person to be
conclusive evidence of such approval, necessity, desirability, convenience, advisability or
appropriateness; and be it further

                 RESOLVED, that the execution and delivery of the DIP Term Sheet and the other
Loan Documents, and the performance by each Company of its obligations thereunder, including the
granting, ratification or reaffirmation of any security interest, mortgage or lien, or the provision of
any guarantee, as applicable, in each case, as contemplated by or in connection with the DIP Term
Sheet and the other Loan Documents, hereby are expressly authorized, adopted, confirmed, ratified
and approved, and such approval is intended to and shall constitute all authorization and approval
required by the Board; and it is further

                 RESOLVED, that each of the Authorized Persons be and they hereby are authorized
to execute, deliver and perform, or cause to be executed, delivered and performed, as applicable from
time to time, in the name of and on behalf of each Company, the DIP Term Sheet and various other
documents, agreements, instruments, questionnaires, papers or writings, as such Authorized Person
determines are necessary, convenient, advisable, appropriate or desirable to effect execution, delivery
and performance of the DIP Term Sheet and the transactions contemplated thereunder as intended by
these resolutions, including but not limited to, the DIP documents, the DIP orders, any UCC financing
statements and other instruments, stock powers, bond powers, unit powers, powers of attorney, side
letters, notary letters, allonges, waivers, documents, certificates, consents, assignments, notices,
affidavits, certificates of officers (including secretary’s certificates) and other certificates, control
agreements, intellectual property grants, guarantees, pledge agreements and other pledge documents,
security agreements and other security documents, ratification agreements and agreements
contemplated thereby or executed and delivered in connection therewith (collectively, the “Loan
Documents”), in each case, with such changes, additions, modifications, and terms as the Authorized
Person(s) executing the Loan Documents shall approve, with such Authorized Person’s execution
thereof to be deemed conclusive evidence of such approval, and in each case and in connection
therewith, with all amendments, amendments and restatements, supplements, renewals, extensions,
modifications, substitutions and replacements thereof and each other agreement now existing or
hereafter created providing collateral security for payment or performance of the obligations
thereunder; and it is further

             RESOLVED, that each of the Authorized Persons are hereby authorized, directed and
empowered, for and on behalf of and in the name of each Company to assign, hypothecate, set over,


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grant security interests in or grant a continuing security interest in, mortgage or pledge any or all of
the assets and properties of each Company, real, personal or mixed, tangible or intangible, now owned
or hereafter acquired, and all proceeds of the foregoing, to the DIP Agent as security for the
obligations under the DIP Term Sheet and the other Loan Documents; and it is further

                RESOLVED, that to the extent that the approval of either Company in its capacity as
a stockholder, shareholder, equity holder, managing member, sole member, general partner, limited
partner or member of any person is required for such Company or any such other person to execute,
deliver and perform any of its obligations (including the grant of a lien on its assets) under the DIP
Term Sheet or the other Loan Documents, such Company hereby consents thereto; and it is further

               RESOLVED, that any and all past actions heretofore lawfully taken by any
Authorized Officer, or any other officers, directors, members or any authorized persons acting
under similar authority, as the case may be, of each Company or any Board, in the name and on
behalf of each Company in furtherance of any or all of the preceding resolutions are hereby ratified,
confirmed, adopted and approved in all respects; and it is further

               RESOLVED, that the execution of that certain Asset Purchase Agreement by and
among Paper Source, Inc., as seller, Pine Holdings, Inc. as parent, and MidCap Funding Investment
XI LLC, as Purchaser (the “Stalking Horse APA”), for the sale of substantially all of the
Companies’ assets, subject to higher or otherwise better offers, substantially consistent with the
overview materials presented to the Board, with such changes therein and additions thereto as the
Authorized Person(s) executing the same shall approve, by an Authorized Person shall be deemed
conclusive evidence of such approval; and it is further

                RESOLVED, that (a) subject to approval of the Bankruptcy Court, the Authorized
Persons shall be, and each of them, acting alone, hereby is, authorized and empowered in the name
of, and on behalf of, each Company, as a debtor and debtor in possession, to take such actions and
execute, acknowledge, deliver, and verify such agreements, certificates, instruments, and any and
all other documents, including any amendments or other modifications to the foregoing, as any of
the Authorized Persons may deem necessary or appropriate to facilitate the sale contemplated by
the Stalking Horse APA or one or more alternative sale(s) or transaction(s) in respect of the
Companies’ assets that represent a higher or otherwise better transaction (such documents, the
“Sale Documents”); (b) subject to approval of the Bankruptcy Court, any and all Sale Documents
containing such provisions, terms, conditions, covenants, warranties, and representations as may
be deemed necessary or desirable by any of the Authorized Persons are hereby approved; and (c)
the actions of any Authorized Person taken pursuant to these joint resolutions, including the
execution, acknowledgment, delivery, and verification of all agreements, certificates, instruments,
and other documents, including any amendments or other modifications to the foregoing, shall be
conclusive evidence of such Authorized Person’s approval thereof and the necessity and
desirability thereof;

                  RESOLVED, that each of the Authorized Persons are hereby authorized, directed
and empowered, for and on behalf of and in the name of each Company to: (a) authorize counsel to
draft, file, and seek approval of bidding procedures (the “Bidding Procedures”) pursuant to which
the Companies shall seek higher or otherwise better offers for the sale of all or substantially of
their assets; (b) execute, deliver, and file on behalf of the Companies such affidavits or declarations


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as such Authorized Person, in his or her opinion, deems necessary or desirable in connection with
obtaining approval of the Bidding Procedures; (c) take any and all such other actions as such
Authorized Person, in his or her opinion, deems necessary or desirable in connection with
obtaining approval of the Bidding Procedures and obtaining the highest or otherwise best offer for
the Companies’ assets; and be it further

                 RESOLVED, that each of the Authorized Officers is authorized to make, execute,
file and deliver any and all consents, certificates, documents, instruments, affidavits, agreements
amendments, papers or writings as may be required in connection with or in furtherance of any of
the foregoing, and to do any and all other acts necessary or desirable to effectuate the foregoing
resolutions, the execution and delivery thereof by such Authorized Officer(s) to be deemed
conclusive evidence of the approval by each Company of the terms, provisions and conditions
thereof; and it is further

              RESOLVED, that the Secretary of each of the Companies is hereby authorized,
empowered and directed to certify that the foregoing resolutions of the Board were duly consented
to and adopted as of the date hereof.


                                  (signature on following page)




                                                5
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            IN WITNESS WHEREOF, the undersigned has executed this Secretary’s Certificate as of the day
            and year first above written.


                                                                By:
                                                                Name: Ron Kruczynski
                                                                Title: Secretary, Treasurer and Chief Financial
                                                                       Officer




                                               [Signature Page to Secretary’s Certificate]
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                         IN THE UNITED STATES BANKRUPTCY
                        COURT FOR THE EASTERN DISTRICT OF
                            VIRGINIA RICHMOND DIVISION
                                                                    )
   In re:                                                           )   Chapter 11
                                                                    )
   PAPER SOURCE, INC., et al.,                                      )   Case No. 21-[_______] (     )
                                                                    )
                           Debtors.                                 )   (Joint Administration Requested)
                                                                    )


                       CONSOLIDATED LIST OF CREDITORS
                   HOLDING THE 30 LARGEST UNSECURED CLAIMS

    Set forth below is the list of creditors that hold, based upon information presently available
and belief, the thirty (30) largest unsecured claims against Paper Source, Inc., and its affiliated
debtors and debtors in possession (collectively, the “Debtors”). This list has been prepared based
upon the books and records of the Debtors. The Top 30 List was prepared in accordance with
Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the Debtors’ chapter 11
cases. The Top 30 List does not include: (1) persons who come within the definition of an “insider”
as set forth in 11 U.S.C. § 101(31) or (2) secured creditors, including those creditors with a right
to setoff under applicable law, unless the value of the collateral (or amount entitled to be offset) is
such that the unsecured deficiency places the creditor among the holders of the thirty (30) largest
unsecured claims. The information presented in the Top 30 List shall not constitute an admission
by, nor is it binding on, the Debtors. The information presented herein, including, without
limitation: (a) the failure of the Debtors to list any claim as contingent, unliquidated, disputed or
subject to a setoff; or (b) the listing of any claim as unsecured, does not constitute an admission
by the Debtors that the secured lenders listed hold any deficiency claims, nor does it constitute a
waiver of the Debtors’ rights to contest the validity, priority, nature, characterization, and/or
amount of any claim.


                                      [List appears on next page]
                 Case 21-30660-KLP                     Doc 1      Filed 03/02/21 Entered 03/02/21 02:50:21                                      Desc Main
                                                                 Document      Page 13 of 18

      Fill in this information to Identify the case:

      Debtor Name: Paper Source, Inc.
                                                                                                                                               Check if this is an
      United States Bankruptcy Court for the:          Eastern District of Virginia
                                                                                                                                               amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                          12/15
  A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
  secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
  largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,         Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of            (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact                debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                               professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                               services, and         or disputed     setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if        Deduction for      Unsecured claim
                                                                                                                     partially secured      value of
                                                                                                                                            collateral or
                                                                                                                                            setoff

  1       FEDEX CORPORATION                    CONTACT: FREDERICK W            TRADE PAYABLE                                                                       $2,198,666.00
          942 SOUTH SHADY GROVE RD             SMITH, CHAIRMAN/CEO
          MEMPHIS, TN 38120                    PHONE: 901-818-7500
                                               FAX: 877-229-4766
                                               FWSMITH@FEDEX.COM
  2       83 SPRING STREET ASSOCIATES LLC      CONTACT: EREZ ITZHAKI           RENT                                                                                  $871,704.00
          580 BROADWAY, SUITE 1107             EREZ@ITZHAKIACQ.COM
          NEW YORK, NY 10012
  3       HARTFORD REALTY CO. LLC              PHONE: 201-871-9000             RENT                                                                                  $702,742.00
          PO BOX 1809                          FAX: 201-871-9000
          ENGLEWOOD CLIFFS, NJ 07632           WOLCZO@AOL.COM
  4       125 S. CLARK (CHICAGO) SPE           ALEXA.STEINFATT@COMMER RENT                                                                                           $440,164.00
          LLC/CR - CHICAGO 125 SOUTH           ZREAL.COM;JACQUELINE.CO
          CLARK STREET LLC                     MPTON@CBRE.COM
          C/O DLA PIPER LLP (US)
          1251 AVENUE OF THE AMERICAS,
          27TH FLOOR
          NEW YORK, NY 10020
  5       APTOS, LLC                           CONTACT: PETE SINISGALLI,       TRADE PAYABLE                                                                         $425,495.00
          DEPT CH17281                         CEO
          PALATINE, IL 60055-7281              PHONE: 845-567-1234
                                               COLLECTIONS@APTOS.COM
  6       BEVILL, INC.                         PHONE: 213-396-9300   RENT                                                                                            $399,086.00
          C/O IDS REAL ESTATE GROUP            POHLMANN@IDSREALESTAT
          P.O. BOX 511350                      E.COM
          LOS ANGELES, CA 90051-7905




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 1
              Case 21-30660-KLP                 Doc 1      Filed 03/02/21 Entered 03/02/21 02:50:21                                   Desc Main
  Debtor: Paper Source, Inc.                              Document      Page 14 of 18Number (if known):
                                                                                Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  7     METROPOLITAN TRANSPORTATION        PHONE: 212-878-7000       RENT                                                                                  $374,427.00
        AUTHORITY                          RYAN.KELLEHER@AM.JLL.CO
        MTA GCT - GENERAL POST OFFICE      M
        PO BOX 29592
        NEW YORK, NY 10087-9592
  8     FIFTY BROAD STREET, INC            JOSEPH.GLOVER@CUSHWAK RENT                                                                                      $314,383.00
        C/O CUSHMAN & WAKEFIELD            E.COM
        50 BROAD STREET
        NEW YORK, NY 10004
  9     RCPI LANDMARK PROPERTIES, L.L.C.   ABERSIN@TISHMANSPEYER.    RENT                                                                                  $296,340.00
        C/O TISHMAN SPEYER PROPERTIES,     COM
        L.P.
        45 ROCKEFELLER PLAZA
        NEW YORK, NY 10111
  10    A/R RETAIL LLC                     PHONE: (212) 801-1000     RENT                                                                                  $291,413.00
        C/O RELATED URBAN                  MKEELER@RELATED.COM
        MANAGEMENT COMPANY
        60 COLUMBUS CIRCLE, 19TH FLOOR
        NEW YORK, NY 10023
  11    RIFLE PAPER COMPANY                CONTACT: ANNA BOND, CO-   TRADE PAYABLE                                                                         $274,124.00
        PO BOX 161553                      FOUNDER/CCO
        ALTAMONTE SPRINGS, FL 32716-       PHONE: 407-622-7679
        1553                               INFO@RIFLEPAPERCO.COM
  12    LMS ASSOCIATES LLC                 RHLEVY@LEVYGROUP.COM      RENT                                                                                  $262,268.00
        THE LEVY GROUP
        1321 1/2 WISCONSIN AVENUE, NW
        WASHINGTON, DC 20007
  13    AMCOR PACKAGING                    PHONE: 480-333-6660       TRADE PAYABLE                                                                         $237,748.00
        DISTRIBUTION/LANDSBERG             FAX: 630-629-9770
        25794 NETWORK PL                   MICHAEL.FLOOD@LANDBER
        CHICAGO, IL 60673-1257             G.COM
  14    BARNAN ASSOCIATES, LLC           PHONE: (212) 835-2445       RENT                                                                                  $233,060.00
        C/O THE OLNICK ORGANIZATION,     SSCHOCHET@OLNICK.COM
        INC
        135 EAST 57TH STREET, 22ND FLOOR
        NEW YORK, NY 10022


  15    ACTIVE GRAPHICS                    CONTACT: GEORGE HAYES,    TRADE PAYABLE                                                                         $230,552.00
        5500 WEST 31ST STREET              CEO
        CICERO, IL 60804                   PHONE: 708-656-8900
                                           FAX: 708-656-2176
                                           INFO@ACTIVE-US.COM
  16    FACEBOOK INC                       CONTACT: MARK             TRADE PAYABLE                                                                         $228,264.00
        1 HACKER WAY                       ZUCKERBERG,
        MENLO PARK, CA 94025               FOUNDER/CHAIRMAN/CEO
                                           PHONE: 650-853-1300
                                           ZUCK@FB.COM
  17    ACCURATE PERSONNEL LLC             CONTACT: ROBERT           TRADE PAYABLE                                                                         $223,017.00
        33 SOUTH ROSELLE ROAD              MIGLIORE, CEO
        SCHAUMBURG, LL 60193               PHONE: 847-310-9100
                                           FAX: 847-310-9284
                                           INFO@ACCURATEUSA.COM




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                       Page 2
              Case 21-30660-KLP                Doc 1       Filed 03/02/21 Entered 03/02/21 02:50:21                                   Desc Main
  Debtor: Paper Source, Inc.                              Document      Page 15 of 18Number (if known):
                                                                                Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  18    CHRONICLE BOOKS                    PHONE: 800-759-0190    TRADE PAYABLE                                                                            $214,942.00
        DEPARTMENT 44493                   HELLO@CHRONICLEBOOKS.C
        P.O. BOX 44000                     OM
        SAN FRANCISCO, CA 94144
  19    FOURTH QUARTER PROPERTIES XXX, JOHN.STEVENS@AM.JLL.CO        RENT                                                                                  $213,554.00
        LLC/T-C FORUM AT CARLSBAD LLC  M
        C/O TIAA-CREF
        ATTN: GLOBAL REAL ESTATE ASSET
        MANAGEMENT
        730 3RD AVENUE, 14TH FLOOR
        NEW YORK, NY 10017


  20    FULFILLMENT AMERICA INC            CONTACT: JOHN BARRY SR,   TRADE PAYABLE                                                                         $208,874.00
        17 PROGRESS ROAD                   PRESIDENT/CEO/DIR
        BILLERICA, MA 01821                PHONE: 978-988-7576
                                           FAX: 978-988-7574
                                           SHALL@FULFILLMENTAMERI
                                           CA.COM
  21    REISCHLING PRESS INC               PHONE: 206-905-5999     TRADE PAYABLE                                                                           $205,342.00
        3325 S 116TH ST                    GREG.BODHAINE@RPIPRINT.
        SUITE 161                          COM
        TUKWILA, WA 98168
  22    OLYMPIC FUNDING, LLC               SHARON@UALNY.COM          RENT                                                                                  $195,065.00
        C/O UNITED AMERICAN LAND LLC
        73 SPRING STREET 6TH FL
        NEW YORK, NY 10012
  23    WS/CIP II TAMPA OWNER LLC          PHONE: 617-232-8900     RENT                                                                                    $162,465.00
        C/O WS ASSET MANAGEMENT, INC.      JACKIE.BURRIDGECENTAMOR
        33 BOYLSTON STREET, SUITE 3000     E@WSDEVELOPMENT.COM
        CHESTNUT HILL, MA 04267
  24    UNION STATION VENTURE LTD          PHONE: (202) 289-1908     RENT                                                                                  $161,933.00
        PO BOX 76111                       ZHAMMER@AACREALTY.CO
        BALTIMORE, MD 21275-6111           M
  25    MARKET STREET RETAIL SOUTH, LLC    PHONE: 617-232-8900   RENT                                                                                      $154,299.00
        S.R. WEINER & ASSOCIATES, INC.     STEWART.RAPPAPORT@WSD
        1330 BOYLSTON STREET               EVELOPMENT.COM
        SUITE 212
        CHESTNUT HILL, MA 02467
  26    LEGACY PLACE PROPERTIES LLC        PHONE: 617-232-8900       RENT                                                                                  $154,245.00
        C/O WS ASSET MANAGEMENT, INC.      MICAH.NORTON@WSDEVEL
        33 BOYLSTON STREET, SUITE 3000     OPMENT.COM
        CHESTNUT HILL, MA 04267
  27    GIBSON, DUNN & CRUTCHER, LLP       PHONE: 213-229-7333    LEGAL FEES                                                                               $150,450.00
        PO BOX 840723                      CBILLING@GIBSONDUNN.CO
        LOS ANGELES, CA 90084-0723         M
  28    CHS COMMERCIAL OWNER               PHONE: 617-965-8700       RENT                                                                                  $148,203.00
        LLC/CHESTNUT HILL SQUARE LLC       AKAPLAN@NEDEVELOPMEN
        C/O NEW ENGLAND DEVELOPMENT        T.COM
        ONE WELLS AVENUE
        NEWTON, MA 02459
  29    GILMORE LAND CO, LLC               PHONE: 323-939-1191       RENT                                                                                  $148,032.00
        6301 W. 3RD STREET                 EMAURITSON@AFGILMORE.
        LOS ANGELES, CA 90036-3154         COM




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 3
              Case 21-30660-KLP                Doc 1       Filed 03/02/21 Entered 03/02/21 02:50:21                                   Desc Main
  Debtor: Paper Source, Inc.                              Document      Page 16 of 18Number (if known):
                                                                                Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  30    SGRC 77 LLC                        PHONE: 212-772-8830      RENT                                                                                   $146,181.00
        A NEW YORK LIMITED LIABILITY       BCAIOLA@BETTINAEQUITIES.
        COMPANY HAVING AN OFFICE C/O       COM
        BETTINA EQUITIES MANAGEMENT
        LLC,
        230 EAST 85TH STREET
        NEW YORK, NY 10028-3099




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 4
Case 21-30660-KLP         Doc 1     Filed 03/02/21 Entered 03/02/21 02:50:21        Desc Main
                                   Document      Page 17 of 18



                         IN THE UNITED STATES BANKRUPTCY
                        COURT FOR THE EASTERN DISTRICT OF
                            VIRGINIA RICHMOND DIVISION
                                                              )
   In re:                                                     )   Chapter 11
                                                              )
   PAPER SOURCE, INC., et al.,                                )   Case No. 21-[_______] (     )
                                                              )
                           Debtors.                           )   (Joint Administration Requested)
                                                              )

             LIST OF EQUITY HOLDERS AND CORPORATE OWNERSHIP
                STATEMENT OF PAPER SOURCE, INC. PURSUANT TO
                     BANKRUPTCY RULES 1007(a)(3) AND 7007.1

        As of the Petition Date, Pine Holdings, Inc. owns one hundred percent (100%) of Paper

Source, Inc.’s equity interests.
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            Case 21-30660-KLP                     Doc 1        Filed 03/02/21 Entered 03/02/21 02:50:21                                          Desc Main
                                                              Document      Page 18 of 18



          Fill in this information to identify the case and this filing:

          Debtor Name Paper Source, Inc.

          United States Bankruptcy Court for the ___Eastern _________ District of _Virginia _
                                                                                   (State)
          Case number (If known):



         Official Form 202
         Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15
         An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or
         partnership, must sign and submit this form for the schedules of assets and liabilities, any other document that
         requires a declaration that is not included in the document, and any amendments of those documents. This
         form must state the individual’s position or relationship to the debtor, the identity of the document, and the
         date. Bankruptcy Rules 1008 and 9011.
         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
         money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
         imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                        Declaration and signature
                     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
                     of the partnership; or another individual serving as a representative of the debtor in this case.
                     I have examined the information in the documents checked below and I have a reasonable belief that the
                     information is true and correct:

                                Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                                Schedule H: Codebtors (Official Form 206H)

                                Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                                Amended Schedule ______

                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
                                Are Not Insiders (Official Form 204)

                                Other document that requires a declaration List of Equity Holders and Corporate Ownership
                                Statement Pursuant to Bankruptcy Rules 1007(a)(3) and 7007.1

                     I declare under penalty of perjury that the foregoing is true and correct.
                                  03/02
                     Executed on                                                           X
                                    MM / DD / YYYY                                         Signature of individual signing on behalf of debtor

                                                                                           Ronald Kruczynski
                                                                                           Printed name

                                                                                           Chief Financial Officer
                                                                                           Position or relationship to debtor
